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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,                    Civil Action No. 2:15-cv-998-JRG-JRP

                 v.                                      CONSOLIDATED LEAD CASE

  NVIDIA CORPORATION, et al.,                              JURY TRIAL DEMANDED

                        Defendants.


                          JOINT MOTION TO AMEND DISMISSAL

        Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendant Valve Corporation

 (“Defendant”), pursuant to Fed. R. Civ. P. 41(a) and (c), hereby move for an order dismissing

 Plaintiff’s claims in this action WITH PREJUDICE and stating that Defendant’s counterclaims

 remain dismissed WITHOUT PREJUDICE subject to the terms of that certain agreement entitled

 “SETTLEMENT AND LICENSE AGREEMENT” and dated January 11, 2016, with each party

 to bear its own costs, expenses and attorneys’ fees and with this Court retaining jurisdiction over

 this matter for enforcement of the settlement agreement in force between the parties.
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       DATED March 9, 2016.               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 9th day of March, 2016, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
 Division, using the electronic case filing system of the court. The electronic case filing system
 sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
 accept this Notice as service of this document by electronic means.

                                               /s/ Neal Massand___
                                               Neal Massand
